Case 17-05212-pmb         Doc 30    Filed 09/13/18 Entered 09/13/18 08:27:50           Desc Main
                                    Document     Page 1 of 2




  IT IS ORDERED as set forth below:



  Date: September 12, 2018
                                                         _____________________________________
                                                                       Paul Baisier
                                                               U.S. Bankruptcy Court Judge

  _______________________________________________________________



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION
In re:                                    :                 CASE NO. 17-58462-PMB
                                          :
KASHKA SCOTT,                             :                 CHAPTER 7
                                          :
            Debtor.                       :
                                          :
                                          :
NCP BAYOU II, LLC, as the assignee of     :
RES-GA TWO, LLC,                          :
                                          :                 ADVERSARY PROCEEDING
            Plaintiff,                    :
                                          :                 NO. 17-5212
v.                                        :
                                          :
KASHKA SCOTT,                             :
                                          :
            Defendant.                    :
__________________________________________:


                      JUDGMENT DENYING DISCHARGE OF DEBTOR

         The above adversary proceeding having come before the Court on the Plaintiff’s Motion for

Summary Judgment, filed by the Plaintiff named above (the “Plaintiff”) on June 27, 2018 (Docket
Case 17-05212-pmb         Doc 30    Filed 09/13/18 Entered 09/13/18 08:27:50           Desc Main
                                    Document     Page 2 of 2


No. 19)(the “Motion”) along with supporting documents, in which the Plaintiff seeks judgment on

certain counts of the Complaint filed by the Plaintiff herein on August 11, 2017 (Docket No. 1)(the

“Complaint”), and the Court having granted the Motion to the extent provided in an Order entered

of even date (the “Order”), it is

          ORDERED AND ADJUDGED that the Order is made a Judgment of the Court; and, it is

further

          ORDERED AND ADJUDGED that the discharge of the above-named Defendant-Debtor

is denied pursuant to 11 U.S.C. §§ 727(a)(3) and (a)(4) as set forth in Counts V and VI of the

Complaint. In view of the foregoing, all remaining counts set forth in the Complaint are moot.

          The Clerk is directed to serve a copy of this Judgment upon counsel for the Plaintiff,

counsel for the Defendant-Debtor, the Chapter 7 Trustee, all parties in interest filing notices of

appearance in the Main Bankruptcy Case and related adversary proceedings, and the United States

Trustee.

                                    [END OF DOCUMENT]




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